     Case 2:23-cv-02224-MSN-atc            Document 320        Filed 02/22/25      Page 1 of 2
                                           PageID 4517



                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
__________________________________________________________________________

ROWVAUGHN WELLS,

       Plaintiff,

v.                                                            Case No. 2:23-cv-02224-MSN-atc
                                                              JURY DEMAND

THE CITY OF MEMPHIS, et al.,

      Defendants.
______________________________________________________________________________

                ORDER RELATING TO MEDIATOR SELECTION
______________________________________________________________________________

       Before the Court is the parties’ Joint Status Report Regarding Mediator Selection (ECF

No. 309, “Joint Status Report”), filed February 18, 2025. At the January 3, 2025 status conference,

the Court directed the parties to confer and select a mediator by the applicable deadline, with the

understanding that if parties were unable to agree, the Court would select a mediator. Pursuant to

the Third Amended Scheduling Order (ECF No. 276), the parties were directed to file a stipulation

selecting a mediator by February 18, 2025. The Third Amended Scheduling Order provides in

footnote one: “If the parties fail to agree upon a Mediator by this deadline, the Court shall select a

Mediator for the case from the Court's Mediator list and shall issue an Order notifying the parties

of the Mediator's identity.” (ECF No. 276 at PageID 3125.)

       The parties have subsequently filed a Joint Status Report indicating that they have been

unable to reach an agreement regarding mediator selection and seek the Court’s guidance. (ECF

No. 309.) The parties propose that each submit a list of no more than three potential mediators for

the Court’s consideration. (Id.) The Court, however, declines to adopt that procedure and will
    Case 2:23-cv-02224-MSN-atc             Document 320         Filed 02/22/25       Page 2 of 2
                                           PageID 4518



instead follow the procedure set forth in the Third Amended Scheduling Order and the Court’s

Alternative Dispute Resolution Plan Rule 5.4(c)(2). The parties are not required or requested to

submit lists of proposed mediators.

       The Court ORDERS that the parties shall have until February 26, 2025, to either (1)

stipulate to a mediator for this case or (2) file a joint report of impasse regarding mediator selection

through a notice filed with the Court.

       If the parties report an impasse, the Court will select a mediator for the case from the

Court’s Mediator list and will issue an Order notifying the parties of the mediator’s identity as

provided under the Court’s Third Amended Scheduling Order and the Court’s Alternative Dispute

Resolution Plan Rule 5.4(c)(2).

       The ADR deadline remains March 28, 2025.

       IT IS SO ORDERED, this 22nd day of February 2025.

                                                        s/ Mark S. Norris
                                                        MARK S. NORRIS
                                                        UNITED STATES DISTRICT JUDGE




                                                   2
